 Case 08-14631-GMB          Doc 3-1 Filed 03/16/08 Entered 03/16/08 21:31:35           Desc
                               Proposed Order Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
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Proposed Attorneys for the Debtors

In re:                                                 Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge:

                Debtors.                               Chapter: 11




               Recommended Local Form:            Followed           Modified



               ORDER DIRECTING JOINT ADMINISTRATION OF CASES

         The relief set forth on the following page, numbered two (2) is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Directing Joint Administration of Cases



          Upon the motion of Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C., Accu-

Weld LLC and Ultra LLC, debtors and debtors-in-possession in the above captioned cases for an

order pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, directing the joint

administration of the following cases for procedural purposes only,

Shapes/Arch Holdings L.L.C., 08-

Shapes L.L.C., 08-

Delair L.L.C., 08-

Accu-Weld L.L.C., 08-

Ultra L.L.C., 08-

and for good cause shown, it is

          ORDERED that the cases listed above shall be jointly administered by the court, and it is

further

          ORDERED that case number 08-                        shall be designated as the lead case,

and it is further

          ORDERED that nothing contained in this order or in the motion shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of the debtors or the

above captioned cases, and it is further

          ORDERED that this Order shall be filed in each of the above listed cases.




CHERRY_HILL\429900\1 077771.000




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